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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION



UNITED STATES OF AMERICA

VS.                            CASE NO. 4:03CR00142 JMM
                                        4:07CV00434 JMM
RASHAD LANDERS


                                         JUDGEMENT

       Pursuant to the order filed this date, judgment is entered dismissing this case and the

relief sought is denied.

       IT IS SO ORDERED THIS 3           day of October      , 2008.




                                                     James M. Moody
                                                     United States District Judge
